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                     AFFIDAVIT IN SUPPORT OF A COMPLAINT

                                   I. INTRODUCTION


       I, Randall E. Garver, after being duly sworn, depose and state as follows:


       1.      I am a Special Agent of the Federal Bureau of Investigation and entered on

duty in May 2006. I am currently assigned to the Buffalo Field Office and work on cases

associated with the Violent Crimes Against Children program, which targets individuals

involved in the online sexual exploitation of children. As part of these duties, I have become

involved in the investigation of suspected violations of Title 18, United States Code, Sections

2251, 2252, 2252A, 2422, and 2423. I have also participated in various FBI mandated and

volunteer training for the investigation and enforcement of federal child pornography laws in

which computers are used as the means for receiving, transmitting, and storing child

pornography.

       2.      I make this affidavit in support of a criminal complaint charging NICHOLAS

TURNQUIST (“TURNQUIST”), with a violation of Title 18 U.S.C. Section 2423(a)

[Transportation with Intent to Engage in Criminal Sexual Activity].

       3.      The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers in this

investigation, and upon my training and experience as a Special Agent in the Buffalo Field

Office of the FBI. Because this affidavit is being submitted for the limited purpose of seeking

a criminal complaint, I have not included every fact known to me concerning this

investigation. I have set forth only the facts necessary to establish probable cause to believe

that TURNQUIST knowingly violated Title 18, United States Code 2423(a).
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                                  II. PROBABLE CAUSE

       4.     On or about March 31, 2020, an Investigator with the Wyoming County

Sheriff’s Office (WCSO) called me to discuss their department’s ongoing investigation of

NICHOLAS TURNQUIST. The Investigator told me that in January 2012, law enforcement

and Child Protective Services (CPS) received information from Pioneer Central School

District that a then 13-year-old girl, hereinafter “Victim”, was sexually abused by her

stepfather, TURNQUIST. WCSO and CPS interviewed individuals at TURNQUIST’s then-

residence in Java, NY and were satisfied that the information was simply part of on-going

bullying at school. The Investigator advised me that in February and March 2020, Victim

(then 21 years old) provided several statements to East Aurora Police Department (EAPD)

regarding being abused by TURNQUIST. On April 1, 2020, I accompanied WCSO and

EAPD as they executed a state search warrant at TURNQUIST’s residence that he shared

with his current wife, Carly Turnquist (nee Bunce). Numerous items were seized and later

searched pursuant to the warrant with limited investigative value. WCSO and the Wyoming

County District Attorney’s Office provided me with certain information from their case file,

some of which I summarize below.

       5.     In February 2018, EAPD began an investigation into TURNQUIST when a

15-year-old girl told CPS that TURNQUIST showed her pornography on his phone (EAPD

report 18-803233). The 15-year-old girl also told CPS that while she and Victim were

watching TURNQUIST’s daughters (Victim’s half-sisters, Minor 1, and Minor 2), Victim

disclosed that she (Victim) was sexually abused by TURNQUIST starting at the age of 12

(about 2010). Victim’s half-sister, Minor 1 (then 10-years-old, now about 13) told the 15-year-

old girl that TURNQUIST had sex with Victim and that she (Minor 1) saw Victim walking
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out of TURNQUIST’s room naked. In March 2018, EAPD obtained and served a search

warrant upon TURNQUIST’s cellular telephone. The search yielded thousands of nude

images and videos, some of which matched what the 15-year-old girl described to EAPD.

However, EAPD could not substantiate that any of the images were Child Sexual Abuse

Material (CSAM).

       6.     On or about February 24, 2020, Victim reported to EAPD that she was forcibly

raped by TURNQUIST on numerous occasions from 2010 – 2017, when she finally moved

out of the house. Victim’s date of birth is XX/XX/1998, meaning she turned 12 years old

during 2010 and 19 years old during 2017. Victim provided EAPD with a signed deposition

on March 9, 2020. In summary, the deposition stated that on July 30, 2010, Victim was struck

by a car and injured. At the time, TURNQUIST was her mother’s boyfriend (later husband,

and now ex-husband). Victim recalled that in November 2010, she was first sexually assaulted

by TURNQUIST. In the deposition, she stated that in spring 2011, TURNQUIST forcibly

raped her for the first time. The detailed statement recounted various types of sexual abuse,

approximate number of incidents, and the residences in which they took place.            The

deposition concluded with Victim recounting a 2016 letter that Carly Turnquist

(TURNQUIST’s current wife) wrote her. I reviewed the letter and found it stated:

       “…but I love you and there is no way I want to loose (sic) you…come hold me
       from behind. I want to discover new things with you. I want to make love to
       you and go on trips with you and have things just between you and I and have
       things just between you and I and also have things between the three of us…I
       want you to look at me and damn yea she’s mine and proud of it cause I do
       you…I love you so much, Carly.”

       The letter then goes on after Carly’s signature, “I wanna hold each other and
       you cover over and sit with me and lay with me.”


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Finally, the deposition concluded with Victim referring to a Valentine’s Day card given to her

by TURNQUIST in 2017. I reviewed the card and found it closed with “from the guy that

has and always will love you, your bf, Nick.”

       7.     On March 12, 2020, EAPD contacted WCSO regarding TURNQUIST

(Complaint number 20-002057, written by Investigator Aaron Anderson).             The report

summarized the information provided by EAPD to include locations Victim resided with

TURNQUIST and the approximate number of times she was raped at each. The report stated

that TURNQUIST began dating Carly Bunce (now TURNQUIST) and she moved into their

home around Easter 2016. Victim advised that Carly watched TURNQUIST rape Victim

and she participated by touching Victim’s breasts.      Victim advised that type of abuse

continued until Victim left the residence (as a young adult) and moved in with her current

husband.

       8.     On March 17, 2020, Investigator Anderson (WCSO) and Detective Longboat

(EAPD) met with Victim (same complaint number). Victim explained that she came forward

because her half-sisters, Minor 1 and Minor 2, still resided with TURNQUIST and Carly

Turnquist. Victim told law enforcement that TURNQUIST took her on several out-of-state

trips where sexual abuse occurred. The trips included Splash Lagoon in Erie, Pennsylvania,

a casino and Great Wolf Lodge in Canada, an aquarium in Baltimore, Disney World in

Orlando, Florida, and a water park in Sandusky, Ohio. Victim advised that they slept in the

same bed and TURNQUIST sexually abused her during the trips.

       9.     While law enforcement searched the TURNQUIST residence on April 1, 2020,

TURNQUIST was arrested by WCSO and charged with certain sexual offenses against


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Victim.   During WCSO/EAPD’s interview of TURNQUIST, he said he had sexual

intercourse with Victim, but claimed Victim was 18 years old at the time and that the contact

was consensual.

       10.    On April 2, 2020, Victim’s Mother (VM), who is also TURNQUIST’s ex-wife,

provided EAPD with a deposition. In the deposition, she recalled a February 2011 trip to

Florida where TURNQUIST wanted to have sex with VM but she refused because the girls

were not yet asleep. Moments later, Victim, who was laying in another bed, said she and

TURNQUIST have sex while VM is at work. VM brought Victim into the bathroom where

Victim recanted her statement.      In the same deposition, VM recalled Victim seeing a

counselor after being struck by a vehicle. On one occasion, the counselor told VM that she

thought Victim had “been involved in a sexual encounter or was being sexually abused.” I

note for the Court that when law enforcement later contacted the counselor, she recalled

Victim being one of her clients, but did not recall having any concerns of sexual abuse.

       11.    On April 10, 2020, Amber Talarico, an ex-girlfriend of TURNQUIST’s,

provided WCSO with a deposition. In the deposition, Talarico wrote, “[TURNQUIST] and

his previous girlfriend Carly had sex with his daughter [Victim] 10 times and Carly initiated

it. [TURNQUIST] told me several times that more happened with [Victim] but he did not

want to tell me what it was and would take it to his grave.”

       12.    On April 4, 2020, TURNQUIST called his wife, Carly Turnquist, from the

Wyoming County Jail. The call was recorded and provided to me by the Wyoming County

District Attorney’s Office. During the call, TURNQUIST told Carly, “[Victim’s] not saying

that it was statutory rape, she’s not saying that it was just rape, she’s saying that we forced


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and left marks on her.” TURNQUIST then told his wife to “find out what the age of statute

is”, for each state they traveled to. I believe TURNQUIST was referring to the age of consent

for sexual contact in each state he visited with Victim where sexual acts occurred.

TURNQUIST then told his wife to look up the age of consent for Canada, Pennsylvania,

Ohio, Maryland, South Carolina, and Florida. TURNQUIST then posed the hypothetical,

“let’s say Pennsylvania is 15” before stating that law enforcement cannot charge him with a

crime that if the sexual contact was legal where it occurred. TURNQUIST seemed upset that

Victim claimed the rapes were forcible, “she’s saying it’s all rape rape.”

       13.    As part of this investigation, the FBI served multiple Grand Jury subpoenas

upon financial institutions to identify payments made to secure reservations and while on out-

of-state trips. Grand Jury subpoenas were also issued to resorts and vacation locations

frequented by TURNQUIST. From those records, among records revealing numerous other

out-of-state trips, I know that on May 8, 2014 TURNQUIST prepaid for a reservation at

Splash Lagoon in Erie Pennsylvania and arrived at the resort on May 16, 2014 with no other

adult and with three children, checking out on May 17, 2014. I know that Victim was 15

years old on the date of this trip and the age of consent in Pennsylvania is 16. The records

also reflect that on September 5, 2014 there was a charge for $292.46 at the Great Wolf Lodge

in Niagara Falls Canada. On another occasion, TURNQUIST purchased a Groupon voucher

on September 30, 2014, for a trip to the Kalahari Resort in Sandusky Ohio. TURNQUIST

arrived at the Kalahari Resort on October 12, 2014 as one of two guests, checking out on

October 14, 2014. Again, on December 19, 2014 TURNQUIST prepaid for a reservation at

Splash Lagoon in Erie Pennsylvania and arrived at the resort on December 23, 2014 with no


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other adult and three children, ages, 7, 7 and 16 years old, checking out on December 24,

2014. I know Victim was 16 years old during the December 23-24, 2014 trip and, under

Pennsylvania state law, it is a felony for someone over the age of 18 to engage in any act that

corrupts or tends to corrupt the morals of any minor less than 18 years of age. At all times

relevant to this investigation, TURNQUIST was over the age of 18.

       14.    On September 15, 2020, TURNQUIST’s daughter, Minor 2 (Victim’s half-

sister) was forensically interviewed at the Child Advocacy Center. During the interview,

Minor 2 told the interviewer that she witnessed TURNQUIST have sexual intercourse with

Victim. Minor 2 said, “he would force her to do things” that adults do and said she observed

TURNQUIST forcing Victim onto his lap. Minor 2 recalled a trip to Pennsylvania that took

place, she believes when she was five years old and in the middle of kindergarten. Minor 2

said the hotel was close by and near the beach. Based on that description, I believe Minor 2

was likely referring to a trip to Erie, Pennsylvania. During the trip, based on her description,

I believe Minor 2 described Victim having sexual intercourse with TURNQUIST. She

recounted the two having some clothing on but Victim being on top of TURNQUIST, facing

him, her legs spread over TURNQUIST, and that the two were under a blanket. Minor 2

heard Victim tell TURNQUIST to stop but he told her that he was the adult and would do

what he wanted. When Minor 2 got home from the trip, she told her mother what she

observed. Minor 2 said she observed or heard sexual contact between TURNQUIST and

Victim from the middle of kindergarten until the middle of 2nd grade, which I know to be late

2014/early 2015 to late 2016/early 2017. Specially, Minor 2 said whenever her mother was

at work, TURNQUIST would force or push Victim into his bedroom and Minor 2 then heard


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noises that adults make “when doing that”, referring to sexual contact.

       15.     On October 23, 2020, I interviewed Victim who recalled the December 2014

trip to Splash Lagoon in Erie, Pennsylvania, that she went on with TURNQUIST, Minor 1

and Minor 2. Victim added that most of the trips to Splash Lagoon were one night in

duration, but some were a weekend trip (two nights). Victim recalled this specific trip because

the group returned home on Christmas Eve. Victim advised that sexual contact occurred on

each of these trips after her sexual abuse began at age 12. Victim always knew sexual contact

with TURNQUIST would occur on these trips prior to departing; she was confident

TURNQUIST knew he would have sexual contact with her while away from home. Victim

said the frequency of these trips greatly increased after her sexual abuse began and pointed

out that her family took very few trips prior to the start of her abuse.

       16.     During the same interview, Victim said the trips to water parks were generally

taken by herself, TURNQUIST, Minor 1, and Minor 2. TURNQUIST also took Victim on

trips alone as well; most were to a casino in Niagara Falls, Canada, and a trip to the aquarium

in Baltimore, Maryland. TURNQUIST used to take Victim on a birthday trip every year and

recalled one to the Clifton Hill area of Niagara Falls, Canada. Victim was excited to go

because she recently obtained her enhanced drivers permit and drove across the bridge into

Canada. Victim was confident that sexual contact occurred at the hotel while on this trip to

Clifton Hill. Victim recalled attending a trip to Florida with the entire family (TURNQUIST,

VM, Minor 1, and Minor 2) while she was in middle school. During the trip, TURNQUIST

often sought time alone with Victim to run errands, such as purchasing ice. During these

errands, TURNQUIST sexually touched her. One evening during the trip, Victim began to


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cry and then disclosed the abuse to VM, who did not believe her. I believe this incident was

recalled by VM and is annotated above in VM’s statement to law enforcement.

       17.    As part of the investigation, I reviewed the 2018 phone search conducted by

EAPD pursuant to a search warrant. When doing so, I discovered a series of photographs

titled (in sequence) NCM_0364 – NCM_0389. Each of these images were of Minor 1 and/or

Minor 2 in a pool or in the hotel room. Each of the images had .EXIF data present that

showed the pictures were taken on 12/23/2014. However, none had any GPS/location data;

I believe the depicted images are consistent with Splash Lagoon in Erie, Pennsylvania, the

trip Victim discussed above. Another series of photos were titled in sequence, NCM_0092 –

NCM_0288 depicted TURNQUIST, Minor 1, Minor 2, and Victim at Great Wolf Lodge.

The series of images showed combinations of the aforementioned individuals (that is, each

did not show all four). The .EXIF data on these images showed they were taken on

09/05/2014 and 09/06/2014. As discussed above, the group took a trip to Great Wolf Lodge,

Niagara Falls, Canada during the annotated period. A third set of photographs on the phone,

NCM_0601 – NCM_0621 depicted Minor 1 and/or Minor 2 only in the pools/slides at a

water park. The .EXIF data indicates the images were taken on 07/16/2015 and 07/17/2015.

From financial analysis, I know that on July 12, 2015, TURNQUIST purchased a Groupon

for a prepaid upcoming trip to Kalahari Resort (water park) in Pocono Manor, Pennsylvania.

Records indicate that on July 16, 2015, TURNQUIST arrived at the park at 7:47 pm and

checked in with three other guests (four total guests). On July 18, 2015, at 12:03 pm, records

indicate the group checked out.




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